Case 2:19-cV-00528-I\/|CA-I\/|AH Document 1 Filed 01/15/19 Page 1 of 16 Page|D: 1

E. Michael Garrett, Jr., Esq. (8913)
BARRETI` LAZAR, LLC

145 West Passaic Street

Maywood, New Jersey 07607

Tel.: 201-843-5900

Attorneys for Defendants,

Russell B. Tinsley and Downey Trucking, Inc.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

____________________________________________________ X
EWA K. WIERDAK and LUKE J.
MCCARTNEY, her husband,

Civil Ac'don No.

Plaintiffs,
vs.

RUSSEL B. TINSLEY, DOWNEY NOTICE ()F FILING OF NOTICE
TRUCKING, INC., JOHN DOE OF REMOVAL

I»X, ABC CORP., l-X (flctitious names as
entities are presently unknown),

Defendants.

_____________________________________________________ X
TO: Joseph M. Simantov, Esq.

The Simantov Law Firm, P.C.

100 Jefferson Avenue, 3rd Floor

Eiizabeth, New Jersey 07201

Attor:leys for Plaintiffs
S IR S:

PLEASE TAKE NOTICE, that defendants, Russeli B. Tinsley and Downey Trucking,
Inc., in the above-entitled action, have on this 1511‘ day of January, 2019, removed this action to
the Newark Vicinage of the United States District Court for the District ofNeW Jersey, by filing
a Notice of Removal, a copy of Which is annexed hereto, in the Ofi`lce of the Clerk of the United

States District Court for the District of New Jersey, Martin Luther King Building & U.S.

Courthouse, 50 Walnut Street, Newark, New Jersey 07101, and in the Office of the C}erk of the

 

Case 2:19-cV-00528-I\/|CA-I\/|AH Document 1 Filed 01/15/19 Page 2 of 16 Page|D: 2

Superior Court of New Je£‘sey, County of Hudson, at 595 Newal‘k Avenue, Jersey City, New

Jersey 07306.

BARRETI` LAZAR, LLC
Attorneys for Defendants,

 

/ /f "":!

By: '/' / 7
Dared; January 15, 2019 E. Michéei oan-eu, Jr., ESq. (8913)

 

Case 2:19-cV-00528-I\/|CA-I\/|AH Document 1 Filed 01/15/19 Page 3 of 16 Page|D: 3

E. Michael Garrett, Jr., Esq. (8913)
BARRBTI LAZAR, LLC

145 West Passaic Street

Maywood, New Jersey 07607

Tel.: 201-843-5900

Attorneys for Defendants,

Russell B. Tinsley and Downey Trucking, Inc.

____________________________________________________ X

EWA K. WIERDAK and LUKE J. SUPERlOR COURT OP NEW JERSEY
MCCARTNEY, her husband, LAW DIVISION : I~IUDSON COUNTY

DOCKET NUMBER: HUD-L~4999~18
Plaintiffs,
v CIVIL ACTION
vs.
RUSSEL B. 'I`INSLEY, DOWNEY NO'I`ICE OF REMOVAL

TRUCKING, INC., JOHN DOE
l~X, ABC CORP., l-X (tictitions names as
entities are presently unknown),
Defendants.

_____________________________________________________ X

Pursuant to 28 U.S.C. Sections l44l and 1446, defendants, Russell B. rI`insley and
Downey 'l`rucking, inc., hereby remove this action from the Superior Court of the State of New
Jersey, County of Hudson, Docket No. HUD-4999-18, to the Newark Vicinage ~ United States
District Court for the District ofNeW lersey.

l. This Court has original jurisdiction over this aetion, pursuant to 28 U.S.C. Section

1332, on the ground that there is diversity of citizenship between the parties and the amount in
controversy exceeds the Sum of $75,000.00, exclusive of interest and costs.

2. Plaintift`s, Ewa K. Wierdak and her husband Luke J. McCartney, reside at 90
Columbia Avenue, City of Jersey City, Cotmty of Hudson and State of New Jersey.

3. Plaintiff commenced this action by filing a Cornplaint, dated December 18, 2018,

in the Superior Court oi" the State ofNeW Jersey, County of Hudson, against defendants, Russeli

B. Tinsley and Downey Trucking, lnc. A Summons and Cornplaint Was served on defendant,

 

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Downey Trucking, lnc., via personal service, on or about January 7, 2019. The driver, defendant
Russel B. 'i`insley, has not been served as of this date. (See copy of the Summons and
Coniplaint, annexed hereto as Exhibit “A.”

4. Defendant, Downey Trucking, Inc. is incorporated in the State of Kentucky and
has its corporate headquarters and principal place of business located at 1346 West l\/Iain Street,
Auburn, Kentucky 42206. (See Downey Trucking, Inc.’s Corporate Annual Report dated April
23, 2018, annexed hereto as Exhibit “B”). Russel B. Tinsley resides at 607 E. Cedar Street,
Franklin, Kentucky 42134. (See Police Report annexed hereto as Exhibit “C”).

5. The Colnplaint (Exhibit “A”) alleges that plaintiff, Ewa K. Wierdal< sustained
personal injuries resulting from defendants’ alleged negligence, carelessness and recklessness
'l`his accident occurred northbound on the Route l & 9 ramp in Jersey City, New Jersey on
December 19, 2016.

6. Upon information and belief, plaintii`f, Ewa K. Wierdal<, sustained damages which
exceed 375,000.00. Based on the foregoing allegations and claims, this action is one in Which
the amount in controversy exceeds the sum of $75,000.00, exclusive of interest and costs.
Therefore, this action is removable under 28 U.S.C. Section 144l(a), as one over Which this
Honorabie Court has original jurisdiction pursuant to 28 U.S.C. Section 1332(a).

7. Defendant, Downey Trucking, Inc. Was served, via personal service, on January 7,
2019. Defendant Russel B. Tinsley has not been served nor has he received suit papers as of this
date.

8. This Notice of Renioval is filed Within thirty (30) days of defendant’s receipt of
the Complaint, by service or otherwise, and is, therefore, timely filed pursuant to 28 U.`S.C.

section i446(b).

 

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9. Written notice of the filing of this Notice of Removal has been served on
plaintiff’s counsei and a copy of this Notice has been forwarded for filing with the Office of the
Clerk of the Superior Court of the State of NeW Jersey, County of Hudson, at 595 Newark
Avenue, Jersey City, New Jersey 07306, to effect the removal of this action to the United States
District Court, pursuant to 28 U.S.C. Section 1446(d).

WHEREFORE, defendants, Russeli B. Tinslcy and Downey Trucking, Inc., request that
the matter be removed from the Superior Court of the State ofNeW Jersey, County of Hudson, to
this Honorable Court.

BARRETT LAZAR, LLC

Attorneys for Def`endants
Russell B. Tinsley and Downey Trucking, Inc.

ii rt “'
By: W 1
E. Mi@ima€earrea, Jr., Esq. (3913)

Dated: January 15, 2019

 

Case 2:19-cV-00528-I\/|CA-I\/|AH Document 1 Filed 01/15/19 Page 6 of 16 Page|D: 6

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Jeseph M. Sitttantev, lisq.

NJ Bar #040062003

'Il)e Simmttev Law Pi;m, P.C.

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Elizabeth, NJ 0?201

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Aitemeys for Plait“i_tj§ 3 Ewa K. Wiet'dal< and Lttl<e J. Mchm¢y
i EWA t<.. \vtaRDAK AND LUK.E J.

 

," MCCA RTNEY, her itt s band SUPERIOR COURT OF NEW JERSEY
Le\W DIVISION - HUT)SON COUN'I'Y
Plciaiiii`, ])ecket Ne.: HU]J-L"
: v. C,‘ivll Aetion

3 RUSSBL n. Tntsi,s§' DoivNEY

‘ TRUCK}'NG, l'\lC., .l(lf.'l:i\l DOE l'X., ABC CG}M{)LAH~;'[' AN}) JTJRY ];)EI\/IAND
_ CORP. l-X (lictitious parties as entities are

i presently ttnl<nown),

Dafettclattt(s),

 

Plaitttift`s, Bwi K. Wier<iai< and Luke .l. Mchtney, husband and wife residing at 90 Colnmbia Avettue, in the City
of Jersey City, Ce\n\t z et` I-ludseu and State of Ne\v Jersey, by way et` their complaint against tile det`esiclattts, Russei B.
'l`insle_v, ‘Dewney T:'uc : ttg, itie., Jciut Dee and ABC Cerp,, alleges the following

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l . 011 or about D»:i:eml)er 39, 2616, Plalati.tf, E\\'a K. Wier<lai<, was the operator ef` an automobile initiating Nortit on
the licute l & 9 ramp ii lite Ciiy ci`\letsey Ci'ly, Ccuniy of`Hudson and State ofNew Jersey, when the vehicle owned by
defendant, Dew¢tey Tntt:l<ing, Ine. and operated by defendant Ru$sel B. 'l,`itl$ley, also traveling north ott the Route l & 9
rmu;) in the City ct`}erse y City; Comtty cf .l~lutlson and Siatc ofNewJerse}', swung his vehicle into plaintift"s lane, causing a
collision between lite v iilcies,
2. 'fh<> defen<lnn :, Russel B. Tinsley operated his vehicle in n negligent, ote'<:less and reckless manner in that the
defendant faiietl to ma ca proper observation of tra£tie.eentiitions muller traffic matkings; to keep his vehicles under
ccmrei; to maintain pr > >cr speed and distance between velilelcs; to make use o;i` his \'eliieies’ braking mechun.isms; and.
to otherwise drive witl :easensi)le and due care under the circumstances
3. ns a direct mar p):eximate result ofthe negligence effhe defendants plaintiff adhered severe and permanent
bodily i:t_ltn‘ies, sufferei great pain, was forced to seek medical aid and attention was prevented from attending 10 usual

and customary bt\sinesz and etttpioyment andfor other aetiviti\=;sl and has been left with permanent disabilities that witt itt

 

 

Case 2:19-cV-00528-I\/|CA-I\/|AH Document 1 Filed 01/15/19 Page 8 of 16 Page|D: 8

Rauelucti: Jan 3 2919 05¢33nc

the nn\trc cause palm izquirc medical i:'t:ztnncnt, and will in inc intch incapncltaze plaintiff and otherwise cause plaintiff
to suff`ct'.

\K*ECH`.REFO}J§, plaintiff tictiltllitis judgment against lite <itbi`cndntiis, Rttsscl B. 'I‘inslcy, Downcy Trttcking, inG-.
Joltn Doc and ABC 'Zorp., indivi‘citinlly, jointly untifcr scvernily, for damages together with intet'est, costs cf snit,

attorneys fees and antl, cincr and further relief as this C<>ttri may deem eqtcltabic, proper antljnat.

§§ CON}) QOUNT

1. °i`ite Plaintifi‘, luke .i. McCsrlncy, regents each and welty allegation cf the Fit~st Ccunt as if same were set forth

herein al length
2. On the nforcrt\nilicned date and pincc, tile pl.aintlf‘t", Lul<c J. McC.‘artncy, was tend is still the husband of inc
plainliff, i?wn .K. Wiettini<, and as £-'ttcii is entitled ic her sciviccs, scoicty, companionship and nttcntion, and by reason o{"
thc injuries snstainct by plaintiff, Bwn 1{. Wicrdnit, this pinintiiii', wcc deprived ni` her serviccs, society ann
companionship nnti w ii and will bc obliged tc p)'cvicic for ncr medical care nnti attention for the rest cf pinintifi", Bwn
Wiel'ciak’$ |ii`c..

WHEILEFO]E]B, plaintil`f, Lnl~:c }. Mc€nt'tncy, demands judgmcnt on this count against lite defendants for

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TRlAL A'l`“'|:O,`RN]i`/Y DESIGNATION

Pnysnn:n tc the Ruics cf Cctn't inc plaintifi"hcrcby designath Jcscpii IVI. Simantov, Bsq. as trial counsel in tlti$
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Datc<l'. D€Ct~zmbcr l3, 1018

 

 

 

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C‘ERTIB`ICATION PURSUANT '.£`O R. 455*1

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are not the subject of :1‘1;,¢ other action pending in any other Cou\f or of a pending nrbih"mion proceeding nor is any action or
arbitration proceeding contemplated nor mo other j>arfies regg§red to bojoined in this actionl

 

 

oseph M. Simantov, Esq.
Tilo Sim£\ntov Law Firm, PC
Datodr Decomber 18, 2018

 

 

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EXhibit B

 

Case 2:19-cV-00528-I\/|CA-I\/|AH Document 1 Filed 01/15/19 Page 12 of 16 Page|D: 12

 

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Company: DOWNEY TRUCKING iNC
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State of origin: Kenluc_ky
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P.{). BOX 722
AUBURN, KY 42206

Registered Agent NamelAddress

JAiViES DOWNEY
1346 WEST MA|N ST
AUBURN, KY 42206

Current Ofiicers

 

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Prosident
Secretary Donna K_ Downoy. P O. Box 722 _Auburn KY 4201]6
Treasurer Donna K Down‘oy c P. 0 Box 222 Aubum. KY 42206 '-
Vice President James L Downey P O. Bo)< 722 Aubum, KY 42206
Dirootors ' . .< , . - ,, l , _ _ -
Dlrector James Loland Downey P.O. Box 722 Auburn, KY 42206

County: Logan

Business size: Small

Ownership: ~ Veteran-ov\med

Business typo: N|otor Fretghl Transportation

 

 

 

 

Signatures
Signaturo JAN|ES DOWNEY
Titlo President

 

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Exhibit C

 

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AFFIDAVIT OF SERVICE

STATE OF NEW JERSEY
: S.S.
COUNTY OF BERGEN

Dana Riccio, being duly swol'n, deposes and says that deponent is not a party to the
action, is over 18 years of age and resides in New Jersey.
011 January 15, 2019, deponent Served with the Within Notice of Fiiing and Notice of
Removal via e-flle on:
Joseph M. Simantov, Esq.
The Simantov Law Firm, P.C.
100 Jefferson Avenue, 3rd F 1001
Efizabeth, New Jersey 07201
Attorneys for Plaintiffs
Hudson County Courthouse

595 Newark Avenue
Jersey City, New Jersey 07306

\(11 111?)2!0®®

\-/DANA RT[CCIO

Sworn to and subscribed before me
this 15t]‘ja%ofla11ua1‘y, 2019

/M/§W

E. \M' éba/el`éal",wtt J1 ,.Esq (8913)
Attolney at Law, State of New Je1Sey

 

